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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

                                           :
POWERBAHN, LLC,                            :
                                           :
                        Plaintiff,         :
                                           :
         v.                                :     Civil Action No.
                                           :     1:17-CV-02965-AT
FOUNDATION FITNESS LLC,                    :
WAHOO FITNESS, LLC, and                    :
PATRICK WARNER                             :
                                           :
                        Defendants.

     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT PATRICK
       WARNER’S MOTION TO DISMISS PLAINTIFF’S AMENDED
                        COMPLAINT

         Patrick Warner (“Mr. Warner”) respectfully submits this Memorandum in

support of his motion to dismiss the First Amended Complaint filed by Powerbahn,

LLC (“Powerbahn” or “Plaintiff”) (Dkt. No. 166) (“Amended Complaint”).

I.       SUMMARY OF THE ARGUMENT
         Powerbahn’s Amended Complaint should be dismissed as against Mr.

Warner pursuant to Federal Rule of Civil Procedure 12(b)(2) for Powerbahn’s

failure to allege sufficient facts to make out a prima facie case for personal

jurisdiction over Mr. Warner. Powerbahn fails to assert, which, if any, of the six

subsections under the Georgia long-arm statute are met with respect to Mr. Warner

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in order to confer personal jurisdiction.           Notwithstanding Mr. Warner’s

Declaration refuting any of Powerbahn’s alleged bases for personal jurisdiction

over Mr. Warner (see Declaration of Patrick Warner (“Warner Decl.”), attached),

Powerbahn’s allegations with respect to Mr. Warner are insufficient in that they

fail to establish personal jurisdiction pursuant to any of the subsections contained

in the Georgia long-arm statute. Lastly, Mr. Warner does not maintain “minimum

contacts” with Georgia necessary to confer personal jurisdiction consistent with the

guarantee of due process.

II.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

         A.       The Parties
         Mr. Warner is a citizen and resident of Colorado. Mr. Warner is the Senior

Vice President at Foundation Fitness LLC (“Foundation Fitness”).

         Foundation Fitness is an Oregon limited liability company having a place of

business in Portland, Oregon. Among other things, Foundation Fitness is a leading

representative of several world-class commercial fitness equipment brands and is

also the parent company of the global cycling brand, Stages Cycling.

         Wahoo Fitness, LLC (“Wahoo Fitness”) is a Georgia limited liability

company with a place of business in Atlanta, Georgia. Wahoo Fitness is a fitness




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technology company that designs, develops, and sells fitness equipment, including

the KICKR Smart Trainer.

         Powerbahn is a Florida limited liability company with its principal place of

business in Reno, Nevada. (See Dkt. No. 166 at ¶ 1.) Powerbahn alleges in the

Amended Complaint that it is in the business of research and development of

products and technology concerning exercise devices, among other things. (Id. at ¶

10.)     Powerbahn alleges that it is the exclusive licensee of U.S. Patent Nos.

7,066,865 and 7,862,476 (the “Asserted Patents”). (Id. at ¶55, 67.) Additionally,

Mr. Scott Radow is the founder of Powerbahn and a named inventor of the

Asserted Patents.

         B.       Procedural History
         On June 18, 2015, Powerbahn filed its original complaint in the District of

Nevada alleging patent infringement against Foundation Fitness, Wahoo Fitness,

and Giant Bicycle, Inc. (“Giant”)1 for allegedly infringing the Asserted Patents

pursuant to their making, using, selling, and/or offering for sale the Kickr Power

Trainer. (See generally Dkt. No. 1.) Wahoo Fitness later moved to dismiss or

alternatively transfer to the Norther District of Georgia, whereupon the Nevada

Court transferred the lawsuit to this Court on August 7, 2017. (Dkt. No. 88.)


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    Giant was dismissed from the lawsuit on August 31, 2015. (Dkt. No. 51.)
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         Recently, and relevant to the instant motion, Powerbahn filed its Amended

Complaint on April 3, 2019 that added new allegations, new causes of action for

induced patent infringement, new accused products, and also, for the first time,

named Mr. Warner as a defendant. (See Dkt. No. 166.)

         Given Powerbahn’s failure include allegations as to how this Court may

extend personal jurisdiction over nonresident Mr. Warner, and the insufficiency of

any allegations that could arguably support establishing such personal jurisdiction,

Mr. Warner now moves to dismiss the Amended Complaint against him.

III.     LAW AND ARGUMENT

         A.  Powerbahn Has Not Established Personal Jurisdiction over Mr.
         Warner.
         With respect to nonresident defendants, federal courts must undertake a two-

part analysis of a plaintiff’s jurisdictional allegations. Diamond Crystal Brands,

Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249, 1257–58 (11th Cir. 2010). First,

courts look to the forum state’s long-arm statute to ascertain whether it confers

jurisdiction. Id. Next, even where the exercise of personal jurisdiction over a

nonresident would be permissible under such statute, courts must ensure that the

exercise of jurisdiction is consistent with the Due Process Clause of the Fourteenth

Amendment—which requires that a nonresident defendant have sufficient

minimum contacts with the forum state such that maintenance of the a lawsuit

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would not offend traditional notions of fair play and substantial justice. Id; see

also Imageline, Inc. v. Fotolia LLC, 663 F. Supp. 2d 1367, 1372 (N.D. Ga. 2009.)

         Powerbahn bears the burden of establishing the Court’s personal jurisdiction

over each named defendant. Stubbs v. Wyndham Nassau Resort & Crystal Palace

Casino, 447 F.3d 1357, 1360 (11th Cir. 2006) (internal citations omitted); see also

United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009) (“A plaintiff

seeking the exercise of personal jurisdiction over a nonresident defendant bears the

initial burden of alleging in the complaint sufficient facts to make out a prima facie

case of jurisdiction.” (citing Posner v. Essex Ins. Co., Ltd., 178 F.3d 1209, 1214

(11th Cir. 1999) (per curiam)).)

         As an initial matter, Powerbahn, fails to allege any subsection of Georgia’s

long-arm statute under which personal jurisdiction may be established over Mr.

Warner. Instead, Powerbahn, in conclusory fashion and without support, alleges

that “the Court’s exercise of personal jurisdiction over defendants in this action is

consistent with the Georgia’s [sic] long-arm statute and traditional notions of fair

play and justice.” (Dkt. No. 166 at ¶ 8.) To be sure, Powerbahn does not meet its

burden to make out a prima facie case as it has provided insufficient allegations to

identify the specific basis upon which this forum may exercise personal




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jurisdiction over a nonresident defendant. On this basis alone, the Court should

dismiss Mr. Warner from the instant lawsuit.

                  1.    Mr. Warner Cannot Be Reached by Georgia’s Long-Arm
                        Statute.
         For Mr. Warner to be individually subject to personal jurisdiction here, the

Court must first determine that it has statutory authority under Georgia’s long-arm

statue to assert jurisdiction over him. United Techs., 556 F.3d at 1274. The

Georgia Supreme Court has held that its long-arm statute must be read literally,

and it “imposes independent obligations that the plaintiff must establish for the

exercise of personal jurisdiction that are distinct from the demands of procedural

due process.” See Diamond, 593 F.3d at 1259; Innovative Clinical & Consulting

Servs., LLC v. First Nat’l Bank of Ames, Iowa, 279 Ga. 672, 674 (2005). Georgia’s

long-arm statute has six subsections2 under which a court may exercise personal

jurisdiction over a nonresident defendant only if the defendant:

         (1)      Transacts business within this state;

         (2) Commits a tortious act or omission within this state, except as to a
         cause of action for defamation of character arising from the act;

         (3) Commits a tortious injury in this state caused by an act or omission
         outside this state if the tortfeasor regularly does or solicits business, or


2
 Subsections (5) and (6) are not recited herein as they relate to domestic
proceedings. However, the applicability of these subsections is addressed infra.
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         engages in any other persistent course of conduct, or derives substantial
         revenue from goods used or consumed or services rendered in this state.

         (4) Owns, uses, or possesses any real property situated within this state;


O.C.G.A. § 9-10-91.

         Powerbahn originally filed its complaint against Foundation Fitness and

Wahoo Fitness, but has now, years later, added Foundation Fitness’s Senior Vice

President, Mr. Warner, as a defendant. In its Amended Complaint, Powerbahn

includes new causes of action that ask the Court to find Mr. Warner personally

liable for alleged inducement of patent infringement. As noted above, Powerbahn

does not identify under which of the six subsections of the Georgia long-arm

statute its allegations as to Mr. Warner may apply.

         Further, Plaintiff’s Amended Complaint includes merely four paragraphs

that counsel for Mr. Warner could readily identify as alleging facts, albeit

conclusory facts, that could purportedly link Mr. Warner to this jurisdiction.

Specifically, Paragraphs 57 and 69 of the Amended Complaint contain similar

statements that Mr. Warner took confidential knowledge of Powerbahn’s and Mr.

Radow’s rights claimed in the Asserted Patents “to Foundation and shared the

information with Wahoo for purposes of infringing” the Asserted Patents (Dkt. No.

166 at ¶¶ 57 and 69). Mr. Warner, however, refutes these allegations in his


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declaration. (Warner Decl. at ¶¶ 17–19.) Paragraphs 60 and 72, are also similar

allegations that are even more vague—asserting that Mr. Warner and Foundation

Fitness knew of the asserted patents and “took action . . . to cause acts of

infringement” by others. (Dkt. No. 166 at ¶¶ 60 and 72.) Mr. Warner, likewise,

refutes these allegations. (Warner Decl. at ¶¶ 17–19.) None of the remaining

allegations in the Amended Complaint, as best as counsel can tell, include detail

that would otherwise directly link Mr. Warner to this jurisdiction or residents

within this jurisdiction.

                        a)   The Georgia Long-Arm Statute Does Not Reach Mr.
                        Warner Because He Does Not Transact Business Within
                        Georgia.
         Powerbahn makes no effort to allege that Mr. Warner transacts business in

the State of Georgia. Powerbahn’s allegations with respect to Mr. Warner, as set

forth above, are insufficient to connect Mr. Warner with the State of Georgia or

any of its residents. Paragraphs 57 and 69 fail to allege how or where the alleged

“sharing” of information with Wahoo took place, and Paragraphs 60 and 72 fail to

allege how, where, or with whom Mr. Warner took action to allegedly induce

infringement. All other allegations in the Amended Complaint relating to Mr.

Warner, fail to link Mr. Warner with Georgia or one of its residents at all.




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         Simply enough, Powerbahn is not able to allege that Mr. Warner transacted

business within Georgia under subsection (1) of the Georgia long-arm statute. Mr.

Warner is a resident of the State of Colorado. (Warner Decl. ¶ 4.) Mr. Warner’s

limited physical presence in Georgia occurred decades ago,3 prior to employment

with Nautilus, Inc. or Foundation Fitness, or his involvement with Powerbahn or

Mr. Radow, or any of the matters at issues in this lawsuit. (Warner Decl. at ¶ 6.)

Mr. Warner does not currently, and never has in the past, maintained a permanent

mailing address, office, or telephone number in Georgia. (Warner Decl. at ¶ 7.)

Mr. Warner has never maintained a place of business in Georgia, and has never

had any employees, agents, or representatives within Georgia. (Warner Decl. at ¶

7.) Mr. Warner has never personally conducted or transacted business in, directed

activities to, or derived revenue from, Georgia or its residents. (Warner Decl. at ¶

8.) Mr. Warner does not own, lease, or control any real or personal property

located in Georgia. (Warner Decl. at ¶ 9.) Mr. Warner does not pay taxes in

Georgia. (Warner Decl. at ¶ 10.) Mr. Warner does not maintain bank or financial

accounts, or owe any financial debts or other obligations in Georgia. (Warner

Decl. at ¶ 11.)          Mr. Warner does not personally conduct any advertising,

solicitation, marketing or other promotional activities in Georgia or directed
3
 With the exception of at least one layover since 2000 in the Atlanta airport while
en route to another destination on a business trip. (Warner Decl. at ¶ 6.)
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toward Georgia or its residents. (Warner Decl. at ¶ 12.) Mr. Warner has not

personally engaged in any persistent course of conduct, or derived substantial

revenue from goods used or consumed or services rendered in the State of Georgia.

(Warner Decl. at ¶ 13.) Mr. Warner has never personally entered into a contract

with a Georgia resident, nor has he ever entered into a contract to be performed, in

whole or in part, in Georgia. (Warner Decl. at ¶ 14.)

         Though Mr. Warner does admit that he has had limited contact by telephone

and email with Wahoo Fitness in his capacity as a corporate employee, such

contact is unrelated to the actions forming the basis of this lawsuit. (See Warner

Decl. at ¶¶ 5 and 22.) Specifically, Mr. Warner has not designed any product for

Wahoo Fitness. (Id. at ¶ 22.) At most, Mr. Warner’s team at Foundation Fitness

may have provided some limited assistance in the mechanical design of the Kickr

Smart Trainer and KICKR Snap Trainer. However, neither Mr. Warner, nor his

team, was involved in the development or design of the control or electrical system

aspects that are relevant to the patents asserted in this litigation. (Id.) Moreover,

Mr. Warner has no knowledge how Wahoo Fitness designed the control system of

the KICKR Smart Trainer, KICKR Core Smart Trainer, or KICKR Snap Bike

Trainer, or how their firmware is written or designed. (Id.) Further, Mr. Warner

had no involvement in making, selling, offering for sale, marketing, or promoting


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any Wahoo Fitness products (including but not limited to the KICKR Smart

Trainer, the KICKR Core Smart Trainer, or the KICKR Snap Bike Trainer). (Id.)

         Because Mr. Warner’s limited contact with Wahoo Fitness does not form the

basis of the instant lawsuit, such contacts do not extend personal jurisdiction over

Mr. Warner under the Georgia long-arm statute. Smith v. Air Ambulance Network,

Inc., 207 Ga. App. 75 (1993) (noting the Georgia long-arm statute “requires that

the cause of action arise from the act of transacting business in Georgia.”).

         For all the foregoing reasons, Powerbahn cannot show that Mr. Warner

transacts business in the State of Georgia.

                     b)   The Georgia Long-Arm Statute Does Not Reach Mr.
                     Warner Because He Did Not Commit A Tortious Act
                     Within Georgia.
         To assert personal jurisdiction under subsection two (2) of the long-arm

statute, a plaintiff must show that the defendant committed a tortious act in

Georgia. The Georgia Supreme Court has acknowledged a distinction between a

tortious act and a tortious injury committed in the state. Innovative, 279 Ga. at

674. A tort occurs where the actual injury or accident takes place, and not at the

place of economic consequences of that injury. Cold Smoke Capital LLC v. Gross,

No. 11-cv-3558-WSD, 2012 WL 3612626 at *5 (N.D. Ga. Aug. 21, 2012) (quoting

Atlanta Propeller Serv. Inc. v. Hoffman GMBH & Co., 191 Ga. App. 529, 530


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(1989); see also Huggins v. Boyd, 304 Ga. App. 563, 565–66 (2010) (holding that

conduct giving rise to offense occurred at the physical place where emails were

sent); Anderson v. Deas, 279 Ga. App. 892, 893–94 (2006) (holding that allegedly

tortious telephone conduct occurred where the “maker of the call speaks into the

telephone.”).    “For purposes of general jurisdiction under Georgia’s long-arm

statute . . . when a defendant uses the telephone or email to contact a Georgia

resident—defendant’s conduct occurs at the place where defendant speaks into the

telephone or types or sends his email.” LABMD, Inc. v. Tiversa, Inc., 509 F. App’x

842, 844 (11th Cir. 2013) (unpublished).

         Here, Powerbahn’s allegations relating to Mr. Warner, discussed above, are

insufficiently pleaded to establish that Mr. Warner committed a tortious act in

Georgia. Powerbahn fails to adequately provide detail as to how, where, and/or

with whom Mr. Warner allegedly had contact with this forum. Notwithstanding,

Mr. Warner also denies those allegations and denies having committed a tort in

Georgia. (See Warner Decl. at ¶¶ 15, 18, and 19.)

                     c)    The Remaining Sections of the Georgia Long-Arm
                     Statute Likewise Do Not Reach Mr. Warner.
         As to the remaining subsections of the Georgia long-arm statute, they

likewise do not reach Mr. Warner. To assert personal jurisdiction under subsection

three (3) of the long-arm statute, a plaintiff must show that the defendant

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committed a tortious injury in Georgia by an act or omission outside of Georgia.

In that instance a plaintiff must also show that the defendant regularly does

business or engages in persistent conduct in Georgia (which Powerbahn does not

assert in its Amended Complaint, and which, as discussed above, Powerbahn

cannot show with respect to Mr. Warner). Notwithstanding Mr. Warner’s denial as

to committing a tort or causing or facilitating infringement, Mr. Warner does not

does not engage in any persistent course of conduct in Georgia, and does not derive

substantial revenue from goods used or consumed or services rendered in Georgia.

(See Warner Decl. at ¶¶ 5, 8, 13, 15, 17–19,

         Similarly, as attested in Mr. Warner’s declaration, subsections (4)–(6) of the

Georgia long-arm statute fail to reach Mr. Warner because he does not own, use, or

possess any real property in Georgia (Warner Decl. at ¶ 9) nor has he been sued in

any court in the State of Georgia prior to the instant and related lawsuits. (Warner

Decl. at ¶ 14.)

         Apart from apparent guesswork, Plaintiff offers this Court nothing upon

which a finding of long-arm personal jurisdiction over Mr. Warner could be based.

For this and the foregoing reasons, Mr. Warner is not subject to jurisdiction in this

Court pursuant to the Georgia long-arm statute.




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         B.   Asserting Personal Jurisdiction over Mr. Warner Would Violate
         the Due Process Clause of the Fourteenth Amendment.
         For a court to lawfully assert personal jurisdiction over a defendant, not only

must the state’s long-arm statute reach the defendant’s conduct (which it does not

here, as discussed above), but the assertion of such jurisdiction must also comply

with the Due Process Clause of the Fourteenth Amendment, which “protects an

individual’s liberty interest in not being subject to the binding judgments of a

forum with which he has established no meaningful ‘contacts, ties or relations.’”

Licciardello v. Lovelady, 544 F.3d 1280, 1284 (11th Cir. 2008) (quoting Int’1 Shoe

Co. v. Washington, 326 U.S. 310, 319 (1945)). In that regard, due process requires

that a nonresident defendant have “certain minimum contacts with the forum such

that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice.” Int’l Shoe Co., 326 U.S. at 316; see also Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 474 (1985) (explaining that “the constitutional

touchstone [is] whether the defendant purposefully established minimum contacts

in the forum State”).

         Due Process contemplates two types of personal jurisdiction: general

jurisdiction and specific jurisdiction. “Personal jurisdiction may be general, which

arises from the party’s contacts with the forum state that are unrelated to the claim,

or specific, which arises from the party’s contacts with the forum state that are

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related to the claim.” The Nippon Credit Bank, Ltd. v. Matthews, 291 F.3d 738

(11th Cir. 2002). In the case of specific jurisdiction, the inquiry into personal

jurisdiction focuses on “the relationship among the defendant, the forum, and the

litigation.” Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 775 (1984). The Due

Process Clause allows individuals a “fair warning” that particular activity may

subject them to jurisdiction in a foreign court. Burger King Corp., 471 U.S. at 472

(1985). A nonresident’s suit-related conduct must create a substantial connection

with the state. Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014)). Further, the

connection to the forum must be one that the defendant himself makes, and not

based on the actions of a third party or the plaintiff. Id. at 1122; Burger King

Corp., 471 U.S. at 463. The Eleventh Circuit applies a three-part test to determine

whether the requirements of the Due Process Clause are met. To assert personal

jurisdiction over a defendant, the court must examine:

         (1)   whether the plaintiff’s claims arise out of or relate to at least one of
               the defendant’s contacts with the forum;

         (2)   whether the nonresident defendant purposefully availed himself of the
               privilege of conducting activities within the forum state, thus invoking
               the benefit of the forum state laws; and

         (3)   whether the exercise of personal jurisdiction comports with the
               traditional notions of fair play and substantial justice.




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Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013)

(quotations omitted). The plaintiff bears the burden of establishing the first two

prongs, and if the plaintiff does so, “a defendant must make a ‘compelling case’

that the exercise of jurisdiction would violate traditional notions of fair play and

substantial justice.’” Diamond, 593 F.3d at 1267.

               1.   Powerbahn’s Claims Do Not Arise out of or Relate to Any
               Contacts by Mr. Warner with the Forum.
         The same facts that demonstrate the inapplicability of the Georgia long-arm

statute to Mr. Warner are the same facts that demonstrate that Powerbahn’s claims

do not relate to any contacts Mr. Warner has with Georgia—because Mr. Warner

has no personal contacts and his limited contacts in his employment capacity do

not give rise to the claims at issues in the instant lawsuit. Thus, Mr. Warner hereby

incorporates by reference the same facts set forth in Section III.A.1.(a)–(c) above.

               2.    Mr. Warner Did Not Have Sufficient Minimum Contacts so
               as to “Purposefully Avail” Himself of the Privilege of Conducting
               Activities in Georgia.
         A court in the Eleventh Circuit can apply two tests to determine whether a

defendant had sufficient minimum contacts so as to “purposefully avail” himself of

the privilege of conducting activities in the forum state. The court may use either

(or both) the “effects test” as articulated by the Supreme Court in Calder v. Jones,

or the “traditional purposeful availment analysis.” Louis Vuitton, 736 F.3d at 1356.

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Applying either test, Mr. Warner did not purposefully avail himself of the privilege

of conducting activities or business in Georgia.

                     a)    Applying the “Effects Test,” Mr. Warner Did Not
                     Purposefully Avail Himself of the Privilege of Conducting
                     Activities in Georgia.
         Under the Calder effects test, for a tortious act to qualify as purposeful

availment, the act must be: “(1) intentional; (2) aimed at the forum state; and (3)

cause[] harm that the defendant should have anticipated would be suffered in the

forum state.” Licciardello, 544 F.3d at 1286. A defendant “must have ‘expressly

aimed’ his wrongful conduct, individually targeting a known forum resident.’”

Gregory v. Mihaylov, No. 12-CV-2266-TWT, 2013 WL 75773, *6 (N.D. Ga. Jan.

4, 2013) (quoting Licciardello, 544 F.3d at 1287).

         Here, Mr. Warner refutes all allegations by Powerbahn against him. (Warner

Decl. at ¶ 17.) Furthermore, he has never intentionally infringed or intentionally

induced infringement of any of Powerbahn’s asserted patents. (Warner Decl. at ¶

19.) The other facts set forth in Section III.A.1.(a)–(c) above are further proof that

Powerbahn cannot show that Mr. Warner committed any intentional acts aimed at

Georgia that caused harm that Mr. Warner should have anticipated would be

suffered in Georgia. This Court therefore does not have personal jurisdiction over

Mr. Warner.


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                    b)   Applying the Traditional Purposeful Availment
                    Analysis, This Court Cannot Assert Personal Jurisdiction
                    over Mr. Warner.
         Under the traditional purposeful availment analysis, a court can assert

personal jurisdiction over a defendant only if (1) the defendant’s contacts are

related to the plaintiff’s cause of action, (2) the defendant’s contacts are sufficient

to purposefully avail the defendant of the privilege of conducting activities in the

forum, and (3) the defendant’s “contacts with the forum must be such that the

defendant should reasonably anticipate being haled into court there.” Securities &

Exchange Comm’n v. Carrillo, 115 F.3d 1540, 1542 (11th Cir. 1997).

         As discussed at length above, Mr. Warner’s individual contacts with the

State of Georgia are virtually non-existent and his limited contacts in his

employment capacity are such that they do not relate to Powerbahn’s causes of

action. Thus, his contacts are not sufficient for him to have purposefully availed

himself of the privilege of conducting activities in the State of Georgia.

Additionally, Mr. Warner’s contacts are insufficient to demonstrate that he should

have anticipated defending a suit in Georgia. As such, this Court lacks personal

jurisdiction over Mr. Warner.




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               3.    Asserting Personal Jurisdiction over Mr. Warner Does Not
               Comport with “Traditional Notions of Fair Play and Substantial
               Justice.”
         Even assuming arguendo that Mr. Warner did have sufficient minimum

contacts with Georgia, the assertion of personal jurisdiction would still violate the

Due Process Clause. Where a defendant has sufficient minimum contacts with a

forum, those contacts must be evaluated against certain “reasonableness” or

“fairness” factors which help protect a “defendant against the burdens of litigating

in a distant or inconvenient forum.” World-Wide Volkswagen Corp. v. Woodson,

444 U.S. 286, 292 (1980); Louis Vuitton, 736 F.3d at 1355. Factors a court must

consider include: (1) the burden of the defendant in defending the lawsuit; (2) the

forum state’s interest in adjudicating the suit; (3) the plaintiff’s interest in

obtaining convenient and effective relief; and (4) the judicial system’s interest in

obtaining the most efficient resolution. World-Wide Volkswagen Corp., 444 U.S.

at 292.

         An analysis of the Woodson factors in the context of this case prove it to be

unreasonable to force Mr. Warner to litigate this suit in Georgia. First, Mr. Warner

is a resident of Colorado, and that is where he works as an employee of Foundation

Fitness, an Oregon limited liability company. (Warner Decl. at ¶¶ 3, 4.) It would

be burdensome and expensive for Mr. Warner to travel from Colorado to defend


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himself in a Georgia court.      Further, Powerbahn fails to assert whether the

improper conduct alleged against Mr. Warner even occurred in Georgia.

Notwithstanding, any evidence relating to Mr. Warner is likely to be in Colorado

or in Oregon.

         The Due Process Clause requires that a defendant have sufficient contact

with a forum before he can be haled into court there.         Mr. Warner has no

significant contact with Georgia, and Powerbahn fails to allege whether Mr.

Warner’s allegedly tortious acts even took place within the state. He does not fall

within the reach of Georgia’s long-arm statute, and it violates the Fourteenth

Amendment to force Mr. Warner to defend this suit in Georgia. Accordingly, this

Court does not have personal jurisdiction over Mr. Warner.

               4.    This Court Lacks General Jurisdiction over Mr. Warner.
         The due process requirements for general jurisdiction are “more stringent

than for specific jurisdiction.” Consolidated Development Corp. v. Sherritt, Inc.,

216 F.3d 1286, 1292 (11th Cir. 2000). A party is subject to general jurisdiction

when it has “continuous and systematic contacts” in the forum. Id. Given that Mr.

Warner has virtually no personal contacts and limited contacts in his employment

capacity with the State of Georgia, as discussed at length supra, it is not possible




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for the Court to exercise the more restrictive, general personal jurisdiction over

him. (See Warner Decl. at ¶¶ 4–22.)

IV.      CONCLUSION
         For the reasons set forth above, this Court does not have personal

jurisdiction over Mr. Warner. Accordingly, Plaintiff’s claims against Mr. Warner

should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(2).



         Respectfully submitted this 14th day of May, 2019.

                                        /s/ Keith J. Grady__________

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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1(C)

         I hereby certify that the foregoing has been prepared using one of the font

and point selections approved by the Court in Local Rule 5.1(C). Specifically, this

document was prepared using Times New Roman (14 point).


May 14, 2019                              /s/ Keith J. Grady__________

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                          CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 14, 2019, a true and correct
copy of the foregoing was filed with the Court using the CM/ECF system, which
will provide notice of service to the below counsel of record:


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